 Case: 4:05-cr-00136-HEA     Doc. #: 64     Filed: 07/14/05   Page: 1 of 13 PageID #:
                                          177



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                         SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
      Plaintiff,                            )
                                            )
v.                                          )   No. 4:05CR136 HEA
                                            )
RYAN GARCIA and                            )
SARAH THESS,                                )
                                            )
      Defendants.                           )

                   OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on Magistrate Judge David D. Noce’s Order and

Recommendation that Defendant Garcia’s Motion to Suppress Evidence and

Statements, [#39], be denied. An evidentiary hearing on the matter was held before

Judge Noce on April 12, 2005. Defendant Garcia has filed written objections to the

Report and Recommendation. The Government has not filed objections. Pursuant to

28 U.S.C. § 636, the Court will therefore conduct a de novo review of those portions

of the Report and Recommendation to which Defendant Garcia objects.

                              Facts and Background

      On April 1, 2003, St. Louis County Police Detective Damon Kunneman and

Detectives Wall and Verhaeghe were on duty at the Target store on Rusty Road in St.

Louis County, Missouri to investigate the purchases of ephedrine-based cold
 Case: 4:05-cr-00136-HEA         Doc. #: 64     Filed: 07/14/05     Page: 2 of 13 PageID #:
                                              178



medication, a methamphetamine precursor.                Detectives Kunneman, Wall and

Verhaeghe were assigned to the Methamphetamine Precursor Diversion Task Force,

which investigated high-intensity drug trafficking areas. Wall and Verhaeghe were

outside the store in their vehicles, and Kunneman was in the loss-prevention area of the

store utilizing the hidden television cameras to watch the cold-medicine aisle.

       At approximately 2:35pm, Det. Kunneman saw a customer, Defendant Garcia,

enter the cold-medicine aisle and select two boxes of cold medicine containing

ephedrine. Garcia paid for them and left the store, and Kunneman radioed the other

officers that the customer had made a suspicious purchase. The Task Force members

observed Garcia enter a white car, which was being driven by Co-Defendant Sarah

Thess. Officers, who were in individual marked cars, followed Garcia and Thess to

two Walgreens stores and observed them purchase two boxes of similar cold medicine

at each location. Officers then followed Garcia and Thess to a nearby hobby store

where Defendants purchased glass test tubes.1 Kunneman radioed for officers to stop

the car after witnessing the purchases by Garcia and Thess and Thess’ repeated turns

in the car without using her turn signal. After uniformed Police Officer Lohr stopped

Thess and Garcia in his marked car, Det. John Wall approached to speak to the two



       1
        Det. Kunneman knew from his experience and training that glass test tubes are frequently
used to smoke methamphetamine.

                                              -2-
 Case: 4:05-cr-00136-HEA          Doc. #: 64      Filed: 07/14/05      Page: 3 of 13 PageID #:
                                                179



occupants. Wall identified himself and stated he was with the drug unit. He asked

Thess to step out of the car, which she did. Det. Verhaeghe arrived and asked Garcia

to step out of the car, which he also did. Wall told Thess that they were conducting a

drug investigation and asked her whether she would consent to a search of the car.

Thess orally consented without any promises or coercion.

       Det. Kunneman arrived and was advised by Wall that Thess consented to a

vehicle search. Kunneman then proceeded to search the car and discovered two empty

boxes of Walgreens-brand pseudoephedrine Hcl (60 mg., 48-count), two boxes of

WallAct pseudoephedrine Hcl (60 mg., 48-count), two small bottels of Durex iodine

crystals (4 oz. each), and three Walgreens receipts. Det Kunneman arrested Garcia and

Thess and read them their constitutional rights individually and separately. Garcia

stated he would answer the officers’ questions,2 so Kunneman asked Garcia where the

additional chemicals were located.3 Garcia told Kunneman that the chemicals were at

Thess’ mother’s house, which was at 7575 Skull Bones Rd. in Jefferson County,

Missouri. Garcia also told Kunneman that Thess was not involved, but it was

Kunneman’s experience that methamphetamine manufacturers usually work in pairs.


       2
        Garcia stated that he understood his rights, and he did not appear to the officers to be
under the influence of drugs or alcohol.
       3
        Det. Kunneman testified that it is his experience that those who purchase iodine crystals
are actually involved in the manufacture of methamphetamine.

                                               -3-
 Case: 4:05-cr-00136-HEA       Doc. #: 64     Filed: 07/14/05   Page: 4 of 13 PageID #:
                                            180



Thess told Kunneman that the other chemicals were located in her room and in the

detached garage. Kunneman then obtained written consent from Thess to search her

room and the garage. Thess gave her consent to the search voluntarily, without any

threat, promise or coercion.

      Detectives went to 7575 Skull Bones, searched the detached garage, and found

Red-Devil lye, and an empty bottle of iodine, camp fuel, and other liquids and pills,

most of which were in their original retail containers. Kunneman testified at the hearing

that the presence of these chemicals indicated that at one time the garage had been used

as a methamphetamine lab. Kunneman instructed Wall to take Garcia to jail and, if

possible, obtain a written statement from him.

      At the jail, Det. Wall again advised Garcia of his constitutional rights. Garcia

indicated that he understood them and that he would make a statement. Wall provided

Garcia with a written warning and waiver of rights form after filling out the

biographical and introductory portion. Garcia wrote out a statement and signed the

form. He and Thess were released shortly thereafter.

      On June 2, 2003, a domestic disturbance was reported at 4575 Main Street,

House Springs, in Jefferson County, Missouri, and Deputy Sheriffs Jarret Abelov and

Roger Winsler responded to the residence. Deputy Abelov knocked on the front door

and Winsler went around to the back of the building. Sarah Thess opened the front

                                            -4-
 Case: 4:05-cr-00136-HEA     Doc. #: 64     Filed: 07/14/05   Page: 5 of 13 PageID #:
                                          181



door, and though there was no noise or disturbance, Thess appeared to have been in an

argument. She told Abelov that she called police because she had been in a fight with

her boyfriend. Abelov then entered the apartment. In plain view, Abelov saw a

woman’s purse, Red-Devil lye, plastic bags with powder, a clear mason jar containing

a clear liquid, and an empty bottle of Heet antifreeze. Abelov, who had received

methamphetamine precursor recognition training, believed that the items were

ingredients used in the production of methamphetamine and that the apartment looked

like an inactive methamphetamine lab. Abelov arrested Thess for possession of

methamphetamine and drug paraphernalia and advised Thess of her constitutional

rights. Thess told Abelov that she waived her rights and orally consented to a search

of her purse. Abelov searched the purse and discovered a glass pipe.

      Outside, Deputy Winsler saw a man running from the rear of the building, so he

yelled for him to stop. A minute later, Winsler found Defendant Garcia hiding in a

brush pile. Winsler drew his weapon and ordered Garcia out into the open, and Garcia

complied. Winsler handcuffed Garcia and told him he was being detained pending the

investigation of a domestic disturbance at the residence. Winsler performed a patdown

of Garcia’s clothing and discovered in his right front pocket a blue vinyl zipper bag

which contained a zip-lock plastic bag filled with a white substance and a glass tube.

Garcia was then charged with possession of a controlled substance and drug

                                          -5-
 Case: 4:05-cr-00136-HEA      Doc. #: 64     Filed: 07/14/05   Page: 6 of 13 PageID #:
                                           182



paraphernalia.

      A search of the residence was conducted by Deputy Womack after he arrived

on the scene and obtained consent to search by Thess. Thess was given a written

consent to search form, which she read and signed. Womack and four other deputies

searched the residence and discovered a methamphetamine lab. They seized several

precursor components, including containers with clear liquid, one gallon of camping

fuel, bug sprayer, muriatic acid, an empty container of Heet, jars of coffee filters, and

red phosphorus. The items were removed from the residence.

      On March 29, 2004, upon seeing a red Chevy Cavalier being driven without a

front license plate, Corporal John Kozel, of the Jefferson County Sheriff’s Office, ran

a check of the car’s rear license plate number and was advised that the plate was

registered to a different vehicle in violation of Missouri law. Kozel stopped the car in

a gas stateion on Industrial Road and State Highway 30 in Jefferson County. There

were three occupants in the car. Defendant Garcia was the driver, and the other two

occupants were Ryan Willford and Danielle Lambert. When Kozel approached the car,

he saw bottles of peroxide and Heet antifreeze inside. Kozel asked Garcia for his

license and registration, but Garcia stated that his license was suspended. Kozel

confirmed this through the police dispatcher. Garcia was then asked to step out of the

car, which he did, and Kozel told him he was being arrested for driving with a

                                           -6-
 Case: 4:05-cr-00136-HEA      Doc. #: 64     Filed: 07/14/05   Page: 7 of 13 PageID #:
                                           183



suspended license and for possession of methamphetamine precursor chemicals. Kozel

attempted to arrest Garcia, but Garcia shoved Kozel backwards, twisted away, and ran

down the shoulder of Hwy 30. Kozel yelled out to Garcia to stop, but Garcia cursed

at him and kept running.

      After he radioed for backup, Kozel returned to the car, where he saw Lambert

and Willford “fidgeting.” Lambert was attempting to conceal the peroxide and Willford

was trying to close the glove compartment, which Kozel saw contained a bag with pills

and white powder in it. Kozel instructed Willford and Lambert to get out of the car,

which they did, and he handcuffed them.

      Kozel conducted an inventory search of the vehicle after calling for a tow truck

to take custody of the car. In his search, Kozel discovered a bag of a powdery

substance under the passenger seat and a burnt residue. He also found a pipe with a

burnt residue, and clean baggies (1.5" X 1.5" in size), lock-picking tools, blister packs

from empty ephedrine boxes, match tips, acid, and iodine. Kozel read Willford and

Lambert their rights, and the two made statements to police which incriminated

themselves and Garcia. A warrant was later issued for Garcia’s arrest.

      On April 21, 2004, Cpl. Kozel and other officers went to a mobile home on

10712 Dell Lane in Grubville, Missouri to arrest Garcia on the outstanding warrant

issued on March 29, 2004. Kozel knocked on the front door, which was opened by a

                                           -7-
 Case: 4:05-cr-00136-HEA      Doc. #: 64     Filed: 07/14/05   Page: 8 of 13 PageID #:
                                           184



person other than Garcia, and Kozel saw Garcia inside the residence. When Kozel

entered, Garcia ran down the hallway and attempted to escape through the back of the

mobile home. Officers pursued Garcia, and despite Garcia’s kicking, punching, and

attempts to break free from officers, he was arrested and driven to jail.

      During the booking process, Kozel advised Garcia of his constitutional rights,

which Kozel read from an Advise of Rights form. Kozel handed Garcia the form, and

Garcia placed his initials next to each statement of a right and then signed the form,

thereby indicating that he understood his rights and waived them. Garcia then made

the following statement, which was written and signed without any threat or coercion

to Garcia:

      I picked up Danielle Lampert and Ryan Wooford to take Danelle Lampert
      and Ryan to Danelles. While we were at the Convientiant food mart
      Officer Kozel stopped in and Asked me why I didn’t have a front plate
      and I said I don’t have one, he asked me my name and I.D. I told him I
      was suspended licence. He got out after he ran me threw the computer
      and I came back with no warrents. Kozel walked towards my car and
      asked what the heet was for and I said I bought it to put in my gas tank.
      Then the officer told me I was under arrest for driving while suspended.
      Kozel then told me to hold still while he search my pockets and then I
      took off running and left a car that was registered to someone else.
      Nothing in the car belonged to Danelle Lampert or Ryan Wooford it
      belonged the The Registree of the car. Then the car was impounded and
      the police were looking for me. And they found me. Everything in the
      car was mine. The Chemicals and anything that is used in Meth was
      mine.



                                           -8-
 Case: 4:05-cr-00136-HEA      Doc. #: 64     Filed: 07/14/05   Page: 9 of 13 PageID #:
                                           185



      On February 12, 2005, Deputy Sheriff Scott Poe was talking with other officers

at a gas station at Highway 141 and Romaine Creek Rd. in Jefferson County, Missouri,

when he saw Defendant Garcia purchase four bottles of Heet antifreeze and walk

outside toward a pickup truck. Poe was aware that Garcia had been arrested on a prior

occasion in a methamphetamine-related case. Poe thought Garcia’s purchase was

suspicious since it was only 40 degrees Fahrenheit outside and too warm for a car to

need antifreeze. Poe and the other officers decided to approach Garcia and ask about

the purchase, but before being asked a question, Garcia told the officers “I got pills in

the truck–I’ll do whatever I have to.” Poe then advised Garcia of his constitutional

rights and detained him for further investigation. Poe asked Garcia if he and one of the

other officers could search the pickup truck and Garcia said that they could. When

asked if there was anything in the truck that would be of interest, Garcia responded that

there was a bag in the truck containing finished product and marijuana. Poe and the

other officer searched the truck and found a quantity of methamphetamine, marijuana,

a bag of several blister packs of 60 mg pseudoephedrine Hcl pills, and several loose

pills (a total of 1,319 pills). In the bed of the truck was a five-gallon gas can of

Coleman fuel, a small container of ether, the four bottles of Heet Garcia had just

purchased, and four empty bottles of Heet. When asked why he had the pills, Garcia

at first stated that he planned to trade them for methamphetamine, but then admitted to

                                           -9-
Case: 4:05-cr-00136-HEA      Doc. #: 64    Filed: 07/14/05   Page: 10 of 13 PageID #:
                                          186



officers that they were for his own personal use. Garcia admitted to police, “I’m

fucked--it’s my lab.” Garcia was searched incident to the arrest, but nothing was found

on his person.

                                      Discussion

      Defendant Garcia objects to Judge Noce’s findings of fact “as a whole” as

articulated in the Report and Recommendation, arguing that the best evidence of the

facts in this case can be adduced from Court records, transcripts, and exhibits. The

Court agrees with Defendant Garcia--that the best evidence of the facts in this case can

be adduced from Court records, transcripts, and exhibits, and after a review of same,

the Court concludes that Judge Noce’s findings of fact and recommendations “as a

whole” were logical, sound, and well reasoned based on the evidence presented. As

such, Defendant’s objection with regard to Judge Noce’s findings of fact is overruled.

Defendant’s objections are limited to findings of fact, as he makes no objections to

Judge Noce’s conclusions of law.

      Defendant Garcia specifically objects to Judge Noce’s finding that the search of

Garcia’s vehicle was performed after officers obtained Garcia’s consent to search and

that Garcia’s numerous written and oral statements made to officers were provided

freely and voluntarily. The Court will address each of these objections individually.

Search of Defendant’s Vehicle

                                          - 10 -
Case: 4:05-cr-00136-HEA      Doc. #: 64    Filed: 07/14/05   Page: 11 of 13 PageID #:
                                          187



      Defendant Garcia objects to Judge Noce’s finding that Garcia voluntarily

consented to the search of his vehicle on February 12, 2005. Defendant makes no

objections with regard to the vehicle searches that took place on April 1, 2003 and

March 29, 2004, nor does he object with regard to the residential search of 4575 Main

Street in House Springs on June 2, 2003.

      The record reveals that on February 12, 2005, Defendant Garcia was read his

constitutional rights and detained for further investigation by Deputy Sheriff Poe after

claiming to have pills in his possession. Garcia was specifically asked by Poe whether

Poe and the other officer could search the pickup truck. Garcia responded in the

affirmative. When asked whether the truck contained anything of interest, the record

reflects that Garcia stated that the truck contained finished product (methamphetamine)

and marijuana. A search of the truck revealed this assertion by Garcia to be true, and

other incriminating precursor chemicals were also discovered. At the hearing before

Judge Noce on April 12, 2005, Deputy Poe testified to these facts and stated on the

record that no promises were made to Garcia to elicit his consent to search the vehicle.

Nothing in the record, transcripts, or exhibits reveals this testimony to be untrue. As

such, Defendant Garcia’s objection to Judge Noce’s finding of fact Garcia voluntarily

gave consent to search his vehicle on February 12, 2005 is overruled.

Defendant’s Written and Oral Statements

                                          - 11 -
Case: 4:05-cr-00136-HEA       Doc. #: 64    Filed: 07/14/05   Page: 12 of 13 PageID #:
                                           188



       Defendant Garcia also objects to Judge Noce’s findings of fact with regard to

the written statements Garcia made to police on April 1, 2003 and April 21, 2004 and

the oral statements he made on February 12, 2005. Garcia claims his statements were

not provided freely and voluntarily and “believes” that promises were made to him in

order to elicit his statements.

       At the hearing before Judge Noce, Detective Kunneman testified to the facts as

they occurred on April 1, 2003. The evidence showed that Garcia was advised of his

constitutional rights, and he stated that he understood them. Garcia was provided with

a written warning and waiver of rights form, on which he wrote out a statement and

signed. No promises were made to Garcia to elicit his statement, and nothing in the

record reveals otherwise.

       Corporal Kozel testified at the hearing to the facts as they occurred on March 29,

2004 and April 21, 2004. Kozel testified that on April 21, 2004, after executing an

arrest warrant for acts committed by Garcia on March 29, 2004, Garcia made a written

statement regarding the March 29 incident, and that the statement was given freely and

voluntarily. There is no evidence in the record that any promises were ever made to

Garcia to elicit his April 21, 2004 statement. In fact, Kozel testified that at the time

Garcia was writing his statement, Kozel was busy filling out paperwork.

       Finally, Defendant Garcia objects to the finding that his oral statements made to

                                           - 12 -
Case: 4:05-cr-00136-HEA     Doc. #: 64      Filed: 07/14/05   Page: 13 of 13 PageID #:
                                           189



Deputy Poe on February 12, 2005 were made voluntarily. Again, Poe testified to the

facts surrounding the February 12, 2005 incident and stated on the record that no

promises were made to Garcia. Nothing in the record, transcripts, or exhibits reveals

this testimony to be untrue. Therefore, Defendant Garcia’s objections to Judge Noce’s

findings of fact that Garcia voluntarily made statements on April 1, 2003, April 21,

2004, and February 12, 2005 are overruled.

      The Court concludes Judge Noce’s findings of fact and recommendations were

logical, sound, and well reasoned based on the evidence. Therefore, the Court adopts

Judge Noce’s Report and Recommendation in its entirety.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant Garcia’s Motion to Suppress

Evidence and Statements, [#39], is denied;

      Dated this 14th day of July, 2005.




                                       HENRY EDWARD AUTREY
                                       UNITED STATES DISTRICT JUDGE




                                           - 13 -
